

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-79,539-02






EX PARTE DEVONTAE DESHAUN COMBS, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 50,294-B IN THE 78TH DISTRICT COURT


FROM WICHITA COUNTY






	Per curiam.

		

O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of assault family
violence and sentenced to ten years' imprisonment.  He did not appeal his conviction. 

	Applicant contends, inter alia, that his counsel rendered ineffective assistance by: failing to
seek out witnesses, including the complainant, who no longer wanted to pursue her false claims
against Applicant; telling him that the prosecutor would stack all of his sentences if he did not plead
guilty; failing to explain the waivers that he had Applicant sign; and telling him that if he pleaded
guilty, he would be back home in eighteen months.  Applicant has alleged facts that, if true, might
entitle him to relief.  Strickland v. Washington, 466 U.S. 668 (1984); Ex parte Patterson, 993
S.W.2d 114, 115 (Tex. Crim. App. 1999).  In these circumstances, additional facts are needed.  As
we held in Ex parte Rodriguez, 334 S.W.2d 294, 294 (Tex. Crim. App. 1960), the trial court is the
appropriate forum for findings of fact. The trial court shall order trial counsel to respond to
Applicant's claim of ineffective assistance of counsel.  The trial court may use any means set out in
Tex. Code Crim. Proc. art. 11.07, § 3(d).  

	If the trial court elects to hold a hearing, it shall determine whether Applicant is indigent.  
If Applicant is indigent and wishes to be represented by counsel, the trial court shall appoint an
attorney to represent Applicant at the hearing.  Tex. Code Crim. Proc. art. 26.04. 

	The trial court shall make findings of fact and conclusions of law as to whether the
performance of Applicant's trial counsel was deficient and, if so, whether counsel's deficient
performance prejudiced Applicant.  The trial court shall also make any other findings of fact and
conclusions of law that it deems relevant and appropriate to the disposition of Applicant's claim for
habeas corpus relief.

	This application will be held in abeyance until the trial court has resolved the fact issues.  The
issues shall be resolved within 90 days of this order.  A supplemental transcript containing all
affidavits and interrogatories or the transcription of the court reporter's notes from any hearing or
deposition, along with the trial court's findings of fact and conclusions of law, shall be forwarded
to this Court within 120 days of the date of this order.  Any extensions of time shall be obtained from
this Court. 


Filed:  June 26, 2013

Do not publish


